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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINI

 
  

Alexandria Division

    

CLERK, U.S. D|STRICT C

TRINITY INDUSTRIES, INC., ALEXANDR,A VlRGW&um

§§ al.,
Plaintiffs,
Civil Action No. 1:11-cv-937

V.

SPIG INDUSTRY, LLC, §§ al.,

Defendants.

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This matter comes before the Court on Plaintiffs’ Motion to
Enforce the Settlement Agreement, Plaintiffs' Motions to Seal,
Defendants' Motion to Seal, and Defendants' Motion for an
Extension of Time to Correct Plaintiffs' Improper Notice of
Hearing. For reasons stated from the bench, it is hereby

ORDERED Plaintiffs' Motion to Enforce the Settlement
Agreement is DENIED,

Plaintiffs’ Motion to Seal their Memorandum in Support of
their Motion to Enforce the Settlement Agreement is GRANTED,

Plaintiffs’ Motion to Seal their Reply Brief in Support of
the Motion to Enforce the Settlement Agreement is GRANTED,

Defendants' Motion to Seal portions of Defendants'

Opposition to Plaintiffs’ Motion to Enforce Settlement Agreement

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and Exhibits A and B thereto is GRANTED and all these items
shall remain under seal, and

It is further ORDERED that Defendants' Motion for an
Extension of Time to Correct Plaintiffs' Improper Notice of

Hearing is MOOT.

m/
Claude M. I-lilton
UmwdSwmsDBmme@e

Alexandria, Virginia
March [{ , 2013

 

